                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                                 *

         Plaintiff,                             *

v.                                              *      Case No.: 1:21-CV-00532-SAG

M&T BANK,                                       *

         Defendant.                             *

*        *        *         *    *      *       *      *       *       *       *       *       *

                      DEFENDANT M&T BANK’S OPPOSITION TO
                 PLAINTIFF’S EMERGENCY MOTION TO REASSIGN CASE

         Defendant M&T Bank (“M&T”), through its undersigned counsel, opposes the Emergency

Motion to Reassign Case (ECF No. 103), filed by Plaintiff Bryce Carrasco (“Plaintiff”) and, in

support thereof, states as follows:

         1.       Plaintiff’s Emergency1 Motion to Reassign Case has no merit. A party dissatisfied

with certain rulings or decisions of the Court does not establish cause for recusal. See In re Gantt,

1995 WL 379671 at *1 (4th Cir. June 27, 1995); In re Beard, 811 F.2d 818, 827 (4th Cir. 1987);

Jones v. U.S. Congress, 2002 WL 32362648, at *1 n.3 (D. Md. Oct. 30, 2002).

         2.       The Motion states that Plaintiff “will be requesting recusal at the end of business

[on September 9, 2021] if the Presiding Judge is unable to fulfill its responsibilities.” (ECF No.

103). Plaintiff did not file any additional papers with the Court in support of this anticipated request

but he did send chambers an email at 4:58 pm on September 9th advising that he “will not be




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 Pursuant to the Court’s Order dated September 14, 2021, this Motion does not qualify as an emergency
motion and the Court stated it would adjudicate this Motion on a standard briefing schedule. See ECF No.
114.


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requesting for reassignment or disqualification.” To the extent the Court considers the email, the

Emergency Motion to Reassign Case is now moot and should be denied.

         3.       In the event the Court disregards Plaintiff’s September 9th email (like the other

emails Plaintiff sent to chambers (ECF No. 99)) and considers the substance of the Emergency

Motion to Reassign Case, it is unclear what Plaintiff means when he demands that the Court

“provide clear standards and guidelines”. (ECF No. 103). Plaintiff previously expressed frustration

centered around his perceived delay in the Court ruling on the parties’ respective motions for

summary judgment. See ECF No. 100.2 If this is what Plaintiff is referring to in his Emergency

Motion, this Court recently addressed the issue on September 14, 2021 when it entered an Order,

setting forth the plan for issuing rulings on all pending motions, including Plaintiff’s Motion for

Summary Judgment. (ECF No. 114). Accordingly, the “standards and guidelines” that Plaintiff

seeks may have already been provided.

         4.       Regardless, Plaintiff has not established any meritorious basis on which this case

should be reassigned to another judge in this Court, the Emergency Motion to Reassign Case

should be denied.

         WHEREFORE, Defendant M&T Bank respectfully requests that Plaintiff’s Emergency

Motion to Reassign Case be denied. A proposed Order is attached for the Court’s consideration.

                                                Respectfully submitted,

                                                /s/ Brian L. Moffet
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  Ironically, Plaintiff’s own conduct and behavior is preventing the Court from making determinations on
the pending motions in this case because he keeps filing unnecessary papers with the Court, both formally
through ECF and informally through correspondence to the Court.

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                                            Attorneys for Defendant M&T Bank




                                CERTIFICATE OF SERVICE

         I hereby certify that on September 20, 2021, I served a copy of the foregoing on the

following via ECF and via first class mail, postage prepaid:

                                            Bryce Carrasco
                                            334 Ternwing Drive
                                            Arnold, MD 21012


                                            /s/ Brian L. Moffet
                                            Brian L. Moffet (Fed Bar No. 13821)




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